
Garland, J.
delivered the opinion of the court.
This case has already been before the court on a point not affecting the merits, in the decision of which the object of the plaintiff in instituting the suit is stated and the material facts detailed. See 9 La. Rep. 488. The case is now before us on a final judgment in favor of the defendants, from which the plaintiff has appealed. The points to be decided arise under those clauses of the will of the late Julien Poydras, relating to his slaves on his different plantations at the time of his death, which provisions are fully stated on page 493 -of the volume referred to. Taylor, the principal defendant, purchased one of those plantations with the slaves on it, with an express stipulation that he took it and them subject to all the obligations and conditions imposed by the will, and he further engages to comply with all those conditions and) discharge the obligations according to their tenor, which relate principally to-the emancipation of the slaves at a certain period, and keeping them on the-plantation until that period arrives.
In May, 1835, Taylor sold a number of these slaves to Ms co-deféndants, which sales the plaintiff alleges are in violation of the contract and title un- • der which he holds them and the plantation, and he asks that they he annulled and the slaves replaced in the possession of the seller.. The principle-*370involved in this case was decided in the case of Poydras v. Mourain, 9 La. Rep. 492, which was before us in a form of action somewhat different, but seeking the same object, that is, to preserve the property in the condition the testator designed it should remain, until the time shall arrive when the provisions of the will are to take effect. That was an injunction to arrest a sale [14] about to be made, this suit is to annul sales of property similarly situated already made. Both involve the question whether the slaves can be sold separate from the plantation they are on.
The judgment of this court in the case of Poydras v. Mourain seems to us to settle this, and if it were not that the district judge who tried the cause, and the counsel for the appellees insist so strenuously that that decision is contrary to the one given in the case of Moosa v. Allain, 4 N. S. 99, we should at once give a judgment in favor of the plaintiff. But when a judge so learned as he who tried this cause, reviews so critically the opinion of this court and dissents from and overrules it, on the ground that a previous and contradictory judgment has been rendered by it, we feel bound to pause and examine how the facts are, and if opposing opinions exist, then to decide which is the most reasonable and just, and conform our judgment. We have therefore diligently examined the two cases and shall endeavor to show no suoh contradiction exists as is alleged.
In ascertaining what the decision of any court is in a particular case, it is important that -a statement of the pleadings and facts should be separated from the judgment, and it is not to be taken for granted that all the recitals in an opinion have the approval of the court. A neglect of this necessary precaution has perhaps led the learned judge into a mistake, which he will probably discover when he shall again examine these cases.
Moosa was a slave of the late Mr. Poydras, on one of the plantations at the time of his decease, and was with other slaves sold with it to Allain under the provisions of his will. Allain afterwards sold him separate from the plantation, and Moosa, who was a slave, brought suit against Le Leblanc the vendee and Allain the vendor, to annul the sale and cause himself to be restored to the plantation. The court decided that the plaintiff was a slave, and in an action of that kind could not sue or stand in judgment, and therefore decided against him. The questions which the slave wished to have [15] decided were not considered at all, and the presiding judge of this court in giving its judgment in the case of Poydras v. Mourain, says so expressly. He says they could not be, as Moosa had no right to appear in court at that time. 9 La. Rep. 504. In the other case the light of the plaintiff to sue was maintained, and a judgment rendered on the points in controversy, which we do not see any reason for changing.
In both the cases cited, the court has said the power of the master over the person of the slave is absolute until the time fixed for his emancipation shall .arrive, and he is entitled to his labor wherever he chooses to have it performed, but that does not involve the power to sell, or so dispose of the slave, as to prevent him at the proper time from exercising the rights conferred by the will, or io render the exercise of them so burdensome, pre*371carious and difficult as to make the rights themselves almost, if not quite worthless.
We shall not, upon the invitation of the counsel for the appellees, or following the example of the district judge, be drawn into any decision upon the testamentary dispositions of Mr. Poydras in relation to the emancipation of his slaves, the annual stipends to be allowed them and their residence upon the plantations to which they belong. The time for such a discussion has not arrived, and those as much or more interested than the defendants in these questions are not before us. The public, the heirs and the slaves will have a deep stake in the questions that will arise some years hence ; until then we shall only use our conservatory powers to keep the slaves and property in the situation intended by the testator.
The defendant, Taylor, by the very title he holds his property, is bound to comply with certain onerous conditions imposed by him from whom he derived it. He seems desirous of escaping from the performance of those obligations, and interposes the objections he may be likely to encounter in the effort and various questions of public policy, as reasons why he should not attempt it; all of which it would, perhaps, have been more prudent for him to have considered before making the purchase. The zeal now [16] manifested for the peace, happiness and prosperity of the country is so nearly and obviously allied with private interest, as to deprive it of the charm or merit of disinterested patriotism. As he has made the contract he must abide by it, until all interested shall have an opportunity of boing heard, and then we have no doubt justice will be extended to all.
In the present state of the case we cannot proceed to judgment between the defendant, Taylor, and his co-defendants, on his warranty to them, or any questions arising out of the sale; the case, so far as it respects them, must be remanded to the district court for a new trial.
It is therefore ordered, adjudged and decreed, that the judgment of the district court be annulled, avoided and reversed, and this court proceeding to give such judgment as in its opinion ought to have been rendered in the court below, does further order, adjudge and decree, that each of the sales made on the 28th day of the month of May, in the year 1835, by the said William Taylor, to his co-defendants, of slaves Genevieve, Harry, Gongo, Olarisse, Hibou, Charles, Robin and Hannah, be annulled, set aside and rescinded, and each of *nid defendants are adjudged to restore the slave or slaves so purchased by him, to the possession of said William Taylor, there to remain attached to the plantation purchased by Mm of Bennett Barrow, as described in the sale on file in the record, until otherwise disposed of according to law. The costs which the plaintiff is entitled to recover in this court and the district court, to be paid by the defendants. And it is further ordered that the case, so far as it relates to the claims of the defendants, Sneed, Ooyle, Laurans, Jontes and Falconer, on their co-defendant, Taylor, in warranty, be remanded to the district court, to be proceeded in according to law.
